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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


JANE DOE (a pseudonym),

              Plaintiff,

                      v.                       Civil Action No.: 1:23-cv-11935-WGY

JOHN ROE (a pseudonym), and
MASSACHUSETTS INSTITUTE OF
TECHNOLOGY,

              Defendants.


                                NOTICE OF APPEARANCE

       Please enter the appearance of Austin W. Smith, Esq. as counsel for Defendant John Roe

in the above-captioned matter on Count Sixteen of Plaintiff’s First Amended Complaint.


Dated: March 1, 2024




                                                 /s/ Austin W. Smith
                                                Austin W. Smith (BBO #707740)
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                               CERTIFICATE OF SERVICE

        I hereby certify that on March 1, 2024 I caused the foregoing document to be filed

through the Court’s CM/ECF system, which will send notification of such filing electronically to

all registered participants.

                                                           /s/ Austin W. Smith
